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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

  Ana Flores, Rene Flores, Maria Magdalena Hernandez,
  Magali Roman, Make the Road New York, and New York
  Communities for Change,
                                         Plaintiffs,                 2:18-cv-03549 (ADS) (GRB)

                                v.
  Town of Islip, Islip Town Board, and Suffolk County
  Board of Elections,
                                         Defendants.



                          DECLARATION OF DANIEL ALTSCHULER

                 DANIEL ALTSCHULER declares pursuant to 28 U.S.C. § 1746:

                 1.      I am submitting this declaration in support of Plaintiffs' motion for a

  preliminary injunction in this case.

                 2.      I am a political scientist, community organizer, and writer. I received my

  undergraduate degree from Amherst College. I hold a doctorate in Politics and a Masters in

  Developmental Studies from the University of Oxford, where I studied as a Rhodes Scholar. I

  have recently held positions as a Copeland Fellow at Amherst College and as a Visiting Scholar

  at the Milano School for International Affairs, Management, and Public Policy at the New

  School for Public Engagement. I am currently an Adjunct Assistant Professor of Public Service

  at New York University's Robert F. Wagner Graduate School of Public Service. My academic

  research has focused on civic and political participation and civil society in Honduras and

  Guatemala. I co-authored The Promise of Participation: Experiments in Participatory

  Governance in Honduras and Guatemala (Palgrave-MacMillan, 2013) with Javier Corrales, as

 well as other academic articles.
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                 3.      Currently, I am the Director of Civic Engagement and Research at

  Plaintiff Make the Road New York ("MRNY"), as well as the Managing Director of Make the

  Road Action, which has offices in five states, including one in Brooklyn, New York. From 2011

  to early 2014,1 led the Long Island Civic Engagement Table ("LICET"), a coalition led by

  community organizations including MRNY and Plaintiff New York Communities for Change

  ("NYCC"), which works to increase civic participation among working-class communities of

  color. From early 2014 to early 2015,1 was MRNY's Long Island Coordinator, working out of

  MRNY's Brentwood office in Suffolk County. In early 2015,1 assumed my current role at

  MRNY, though I continued to take an active role in the work MRNY has been doing in Long

  Island.

                 4.      Since I joined MRNY in 2011, we have worked to grow our membership

  in minority communities in Long Island. Today, we have over 1,000 members on Long Island,

  many of whom live and vote in the Town of Islip. MRNY's work in Islip includes, but is not.

  limited to, increasing civic participation through voter registration, nonpartisan get-out-the-vote

  efforts, and educating community members about how the political system works. Since 2011,

  MRNY, in partnership with LICET, has reached out to over 150,000 voters in Brentwood and

  Central Islip through phone calls and door-to-door canvassing in order to educate voters in these

  communities (which have had historically low voter turnout) about upcoming elections. MRNY

  also provides English classes, workshops about immigration law and workplace rights, and legal

  counseling, as well as advocates on behalf of our members on the local, state, and federal levels

  on issues ranging from immigration to housing to health to education.

                 5.      Through our concerted organizing efforts during the 2011 and 2012

  election cycles, we were able to achieve significant increases in the percentage of minority voters
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  who voted relative to previous comparable election years. Despite these efforts, however, Latino

  engagement in Town elections remained much lower than engagement among white voters. This

  has remained true for subsequent election cycles, particularly those held in odd years, when

  Town Board elections take place. In my experience, the Latino community in Islip is widely

  aware of presidential elections held every four years. A smaller subset is aware of federal

  elections held every two years, and very few are aware of state and municipal elections in off-

  cycle odd years. The off-cycle odd year elections, which are not as widely advertised or

  promoted as federal elections, exacerbate an already significant information deficit among Latino

  communities. On top of this, many members of Latino communities are immigrants and either

  speak no English or very limited English. The result of holding Town Board elections in off-

  cycle odd years is that communities that are already largely disenfranchised by a lack of

  information face a further disadvantage in accessing information about local elections.

                   6.    Another reason that Latino voter participation still lags behind white voter

  participation on the local level, despite the success of our civic engagement efforts, is that the

  Latino community has been unable to elect a candidate of its choice in the past decade. In fact,

  the Latino community has never come close to doing so. It is my belief that it would be virtually

  impossible for Islip's Latino community to elect a candidate of its choice to the Islip Town

  Board under the current at-large system. It is also my belief that the unrepresentative Board

  elected by the at-large structure has had a chilling effect on political engagement and community

 engagement of the Latino population in the Town. It is difficult to get the Latino community

 excited about Town Board elections because the white community generally votes against Latino

 candidates and the white community is sufficiently large to outvote the Latino community in

 every election.
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                  7.      Furthermore, Islip is a very large town of over 100 square miles, which

  means that it requires significant funds to effectively campaign for public office. The

  communities of color in Islip are not as affluent as the white communities, so it is difficult for

  political candidates from Islip's Latino communities to raise money. As a result, candidates

  from these communities will always be at a distinct disadvantage in terms of fundraising and

  mobilization when running for Town-wide office.

                  8.      During my time at LICET and MRNY, I have helped lead multiple

  Election Protection efforts in Suffolk County. I believe that protecting the right to vote is

  essential to ensuring that our democracy functions properly. People in more impoverished

  immigrant communities are particularly susceptible to having their right to vote threatened and

  denied. They face numerous barriers to voting beyond the information gap, including

  transportation issues and long lines at polling places. I therefore think that it is particularly

  important to provide robust Election Protection services in these areas. As part of these efforts, I

  supervised an Election Protection hotline that that was staffed from 6am to 9pm on Election Day

  in certain years. These hotlines are typically staffed by attorneys, law students, or other

  individuals such as myself who have expertise with voting issues. It is LICET and MRNY

  practice to document and memorialize calls that we receive from voters. I coordinated trainings

  for our voter protection volunteers and full-time staff on how to best assist voters calling the

  hotline. A true and accurate copy of a blank "Problem Log" form from 2012 is attached as

  Exhibit A. This log is the typical form that our Election Protection hotline would use to

  memorialize calls from voters at or near the time that a particular call was made. It is the regular

  practice of LICET and MRNY to keep and maintain completed Problem Logs. We would also

  typically provide our hotline volunteers with a script. Exhibit B is a true and accurate copy of
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  an email from November 4, 2012 that I sent to my colleague Ana Maria Archila with a script

  attached, beginning on page 2, that, among other things, instructs the volunteers what to do if

  someone calls with questions about the location of their polling place, issues about registration,

  or voter ID requests.

                  9.      On Election Day 2011, Election Protection volunteers under my

  supervision fielded numerous calls from voters. I also personally fielded calls that year. I

  learned there were poll sites in predominantly Spanish-speaking communities in Suffolk County

  that were closed without warning and some lacked translation services.

                  10.     Our most robust non-partisan Election Protection operation was in 2012,

  which I organized and supervised in collaboration with the New York Civil Liberties Union

  ("NYCLU") and Common Cause New York. On November 6, 2012, Election Day, we learned

  of a multitude of problems that suppressed, intimidated, or otherwise impeded the ability of

  Latino voters to cast ballots.

                  11.     For example, I learned of an instance of voter intimidation that occurred in

  Brentwood. This incident was reported by an Election Protection hotline volunteer directly

  under my supervision and recorded in our Problem Log. A true and accurate copy of the log is

  attached as pages 1 and 2 of Exhibit C. The hotline volunteer prepared the log at or near the

  time that the voter complaint was made, and it is the regular practice of NYCLU and Common

  Cause to keep and maintain problem logs. The log records an incident of voter intimidation

  recorded at 8:00am at a polling place located at the North Elementary School in Brentwood, in

  which a white male poll worker with gray hair in his late fifties, wearing a bluejacket, gave

  instructions to a Latina woman to vote for Mitt Romney. According to the log, the man pointed

  at Romney's name four times and instructed the woman to show her ballot to him. The log
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   describes that the volunteer spoke with Anita Katz of the Suffolk County Board of Elections

   ("BOE") and wrote that Ms. Katz would send over the police.

                   12.    In 2012 we also received numerous calls about poll workers in Brentwood

   inappropriately telling Latino voters to have their IDs ready for inspection. I recall personally

  fielding at least one of those calls myself from a voter who was told to present ID at his or her

  polling place.

                   13.    At the end of Election Day 2012, the volunteers and other staff submitted

  their logs to me, and I summarized them in an email, a true and accurate copy of which is

  attached as Exhibit D. I wrote this email on Wednesday, November 7, 2012, the day after the

  election, based on information I learned through my own experiences supervising the hotline,

  from hotline volunteers reporting to me, emails sent to me by other supervisors, or from the

  problem logs submitted to me at the end of Election Day. It is my routine practice, and the

  routine practice of employees of MRNY, when coordinating Election Day operations like our

  Voter Protection hotline, to prepare and send an email to our team within one day in order to

  memorialize the issues that we identified during the course of our efforts. Some of the topics the

  email describes are instances of poll workers requesting identification from first time voters, the

  instance of voter intimidation detailed in Exhibit C, and an issue with online voter registration,

  described in detail in the following paragraphs.

                   14.    In 2012, the Suffolk County BOE implemented a policy to reject voter

  registrations submitted through the New York Department of Motor Vehicles' ("DMV") online

  voter registration system. When this issue came to light, a number of organizations, including

  the Brennan Center for Justice at New York University School of Law, NYCLU, MRNY, and

  LICET worked to try to convince the BOE to fix the issue, because we believed it would affect
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  the ability of many people in the Latino community to vote. On November 1, 2012, the Brennan

  Center sent a letter to Anita Katz and Wayne Rodgers, who were the Commissioners of the

  Suffolk County BOE. A true and accurate copy of this letter is attached as Exhibit E. On

  November 5, 2012, the Brennan Center sent letters to Gail Lolis, who was the General Litigation

  Bureau Chief at Suffolk County BOE, and to the New York State BOE. True and accurate

  copies of these letters are attached as Exhibit F and Exhibit G, respectively. All three letters

  were sent to me by Amol Sinha at NYCLU on November 6, Election Day 2012. The letters

  warned that the Suffolk County BOE registration policy risked disenfranchising thousands of

  voters. Notwithstanding these warnings, the Suffolk County BOE did not correct the issue. I

  worked with NYCLU to publicize this issue and hold Suffolk County accountable. On

  November 6, 2012, NYCLU and MRNY issued a press release condemning the registration

  policy, to which I contributed the following quote: "It is unconscionable that Suffolk County's

  Board of Elections would deny people the right to vote who have registered according to the

  state's online procedures. We demand that the Board of Elections rectify this appalling act of

  disenfranchisement." A true and accurate copy of this press release is attached as Exhibit H.

                 15.     On November 14, 2012,1 ghostwrote an op-ed in Newsday, which was

  authored by Amol Sinha and my colleague Karino Claudio, that described these issues. A true

  and accurate copy of this op-ed is attached as Exhibit I. In the op-ed, I recounted how,

  according to one Suffolk County BOE official, 3,200 Suffolk County residents registered using

  the online DMV system in 2012, but their registrations were disqualified because of a software

  error that made the signatures illegible. Although the Suffolk County BOE claimed it followed

  up with these voters, I wrote that at least 500 people were unable to re-register and thus were

  potentially disenfranchised. I also wrote about how callers to the Election Day hotline we
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  operated reported several incidents of poll workers asking for identification from voters without

  legal grounds.

                   16.   On December 19, 2012, MRNY, NYCLU, LICET, and NYCC presented a

  memorandum that I, along with others, wrote to County Executive Steve Bellone, a true and

  accurate copy of which is attached as Exhibit J. The memorandum detailed problems with the

  Suffolk County BOE during the 2012 election, including thousands of voters being

  disenfranchised due to the failure of the Suffolk County BOE to accept DMV online voter

  registrations.

                   17.   On December 9, 2013,1 testified before the New York State Assembly

  Standing Committee on Election Law at the Assembly Subcommittee Hearing on Election Day

  Operations and Voter Disenfranchisement about the voter suppression issues we learned about

  during the 2012 Election Protection operation. A true and accurate copy of my testimony is

  attached as Exhibit K. I told the Committee:

          [Tjhrough our voter protection hotline in 2012, advocates received several
          complaints from Long Island voters who were inappropriately asked for
          identification when trying to vote, particularly in communities of color, without
          legal grounds to do so. Moreover, when advocates called the Suffolk County BOE
          to address this issue, we received troubling responses. One BOE staff member
          told us that all first time voters must present identification when voting, clearly
          inconsistent with state law. Another BOE official began by giving the same
          response, but only recanted when an advocate reminded her of the law. Election
          officials and poll workers who are demanding identification inappropriately are
          frustrating a policy choice and breaking the law.

                   18.   In 2013, administrators in the Brentwood School District proposed

  consolidating poll sites from nine elementary schools into just four middle schools. This

  proposal was prompted by safety concerns because the elementary schools did not have separate

  entrances, as well as cost considerations. I was concerned that both the relocation and dramatic

  reduction in the number of poll sites would further depress voter participation in Brentwood,


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  which was already plagued by low voter turnout. I feared that many voters would not know

  where to vote, would have to travel farther to vote, or would be inconvenienced by long lines. I

  attended at least one meeting with officials from the Brentwood School District to discuss this

  issue. On August 15, 2013,1 sent an email to Billy Easton from the Alliance for Quality

  Education to solicit his advice on this issue, a true and accurate copy of which is attached as

  Exhibit L. On August 26, 2013,1 spoke to New York University Professor Carson Whitelemons

  to seek his advice on the issue, and sent him an email explaining the issue. A true and accurate

  copy of my email to Professor Whitelemons is attached as Exhibit M. On August 26, 2013,1

  also emailed Susan Lemer from Common Cause to seek her advice on the issue, a true and

  accurate copy of which is attached as Exhibit N. Finally, on August 26, 2013,1 emailed Kathy

  Hoey and Robert Feliciano from the Brentwood School Board to advise them that reducing the

 number of poll sites would make it more difficult for Brentwood voters to vote, thus depressing

 turnout. A true and accurate copy of that email is attached as Exhibit O. In December 2013,1

 learned that the Brentwood School Board voted not to move the poll sites.

                 19.     In addition to the voting issues in the Town of Islip, the Town has

 consistently neglected the Latino community and failed to provide it with basic services. The

 starkest example of the Town's neglect of the Latino community in recent years has been the

 closure of the pool at Roberto Clemente Park, and then later the entire Park due to toxic

 dumping. On January 29, 2013, the Islip Town Board voted to close the pools at Roberto

 Clemente Park and Casamento Park due to budget cuts as a result of Hurricane Sandy. These

 pools were the only ones easily accessible to children of the Latino community in Islip. In

 response to the pool closures, NYCC issued a report in March 2013 that I reviewed and edited

 arguing that, by closing the pools that served communities of color, the Town Board was "setting
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  a precedent of racist and classist policy-making that will further disenfranchise the already

  struggling communities they represent." A true and accurate copy of this report, which I edited,

  is attached as Exhibit P.

                 20.     In early 2014, the Town closed Roberto Clemente Park entirely. On May

  6, 2014, MRNY learned that the Suffolk County District Attorney's Office was investigating the

  dumping of tens of thousands of tons of hazardous asbestos-ridden waste in Roberto Clemente

  Park. For the next several years, MRNY, along with a number of partner organizations, worked

  to demand accountability, educate the community, and advocate for the reopening of Roberto

  Clemente Park. This work became a significant focus of MRNY.

                 21.     Exhibit Q is a true and accurate copy of a memorandum that I helped

  write that was sent from MRNY and NYCC to Islip Deputy Supervisor Eric Hofmeister and

  Councilman and Town Parks liaison Anthony Senft on May 14, 2014. The memorandum details

  the "broader pattern of neglect" faced by Islip's Latino community, and explains that not only

  did the Town allow toxic waste to be dumped at Roberto Clemente Park, but also had by that

  point taken over a year to re-open the pool in Roberto Clemente Park after Hurricane Sandy hit

  the Town in 2013. Further, because the Town had failed to provide adequate language services

  for Spanish speakers in the past, the memorandum demands that the Town inform local residents

  of the cleanup progress on Roberto Clemente Park in all languages.

                 22.    On May 16, 2014, then-Suffolk County Legislator Monica Martinez, who

  represented Brentwood, sent a letter to Councilman Senft, copying Acting Supervisor Hofmeister

  and Town Board Members John Cochran, Steve Flotteron, and Trish Bergin Weichbrodt,

  requesting that the Town disseminate information to residents of Brentwood in Spanish and

  English at a meeting concerning Roberto Clemente Park scheduled for May 20, 2014. On May



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   18, 2014, Legislator Martinez emailed me a copy of the letter she sent to Councilman Senft. A

   true and accurate copy of the email and attached letter are attached as Exhibit R.

                  23.    The Town did not comply with either the MRNY demands for

   interpretation services made in the May 14, 2014 letter sent to Deputy Supervisor Hofmeister

   and Town Councilman Senft or Legislator Martinez's demands in the May 16, 2014 letter to

   Councilman Senft. On the night of May 20, 2014,1, along with MRNY members, attended a

  public meeting hosted by the Town of Islip concerning the toxic dumping in Roberto Clemente

   Park. Representatives of the Town, including Deputy Supervisor Hofmeister and Councilman

  Senft, refused to take responsibility for allowing the dumping to occur, and did not allow

  residents to ask them questions directly. The Town did not even allow Legislator Martinez to

  speak on behalf of the residents of Brentwood. Furthermore, notwithstanding the fact that many

  community members did not speak English, the Town failed to provide adequate language

  translation services at the meeting. Instead, people who spoke limited English, including MRNY

  members, were asked to go to the back of the room to speak to an interpreter, who, by her own

  admission, was not competent. Following this meeting, I helped prepare a press release, a true

  and accurate copy of which is attached as Exhibit S, issued by MRNY and NYCC on May 21,

  2014. The press release sought to hold the Town accountable for its disrespect of Brentwood

  residents and failure to provide adequate translation services at such an important meeting.

                 24.     On June 17, 2014, at 6:30pm, I, along with NYCC and MRNY employees

  and members and other community organizations, held a vigil at the entrance to Roberto

  Clemente Park. On June 13, 2014, we circulated a notice that I wrote, a true and accurate copy

  of which is attached as Exhibit T, asking community members to wear black and bring flowers.

  The purpose of the vigil was to demand that the Town immediately clean up Roberto Clemente



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   Park, allocate funds for free summer youth programs in affected areas, and keep all residents

  informed in all languages spoken by local residents.

                  25.    Also on June 17, 2014, the official email account of the Town of Islip sent

  out an update that I received, a true and accurate copy of which is attached as Exhibit U. The

  update was digitally signed by Town Board members Anthony Senft, John Cochrane, Steve

  Flotteron, and Trish Bergin Weichbrodt. The update confirmed an earlier Newsday report that

  the Town Board had passed a $6 million bond resolution to clean up and repair the Park. Most

  notably, in the update, the Town announced that the cleanup period would end by approximately

  January 1, 2015. This deadline was never met. The Town also announced that it had earmarked

  almost $2 million in funds to improve the Roberto Clemente pools and Park.

                 26.     On July 9, 2014,1, in coordination with NYLPI and NYCC, sent a

  Freedom of Information Law ("FOIL") application to the Town. A true and accurate copy of

  this application, which was later sent as an attachment to an email to Town Supervisor Tom

  Croci, is attached as Exhibit V, pages 4 through 7. The application requests "[a]ny records

  related to the dumping of construction debris and other materials from approximately April 2013

  to June 2014 at Roberto Clemente Park in Brentwood, Long Island . . . including, but not limited

  to, test results of soil, air, and water for each site, and remediation plans." The FOIL application

  was drafted and sent by NYLPI, based on conversations I had with attorneys from NYLPI about

  the issues at Roberto Clemente Park. We filed this request because the Town had failed to

  provide transparency to community residents seeking to understand the contamination risk and

  cleanup plans for the Park.

                 27.     On July 15, 2014,1, in coordination with NYLPI and NYCC, sent a

  second FOIL application to the Town. A true and accurate copy of this application, which was



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   later sent as an attachment to an email to Town Supervisor Tom Croci, is attached as Exhibit V,

   pages 9 and 10. The FOIL application requested copies of all remedial investigation reports for

  Roberto Clemente Park, including, but not limited to, the June Enviroscience report, which we

   learned about not from the Town, but from a Newsday article published on July 13, 2014. A true

  and accurate copy of the article is attached as Exhibit W. The FOIL application was drafted and

  sent by NYLPI, based on conversations I had with attorneys from NYLPI about the issues at

  Roberto Clemente Park.

                 28.     On July 17, 2014,1 and other MRNY staff, along with NYPLI and NYCC,

  emailed then-Town Supervisor Tom Croci a letter, a true and accurate copy of which is attached

  as Exhibit V, pages 1 and 2, which contained the previously sent FOIL requests at pages 4

  through 10. The letter demanded a copy of the Enviroscience study concerning the soil and

  water contamination at the Park, which we had been unable to obtain from the Town despite the

  numerous attempts documented above.

                 29.     On September 23, 2014, at 6:30pm, I helped lead a rally cohosted by

  MRNY and NYCC at Islip Town Hall to demand transparency and community involvement in

  the clean-up of Roberto Clemente Park. Prior to this rally, we circulated a press advisory in an

  email on September 22, 2014, a true and accurate copy of which is attached as Exhibit X. I had

  an opportunity to review and edit the press advisory before it was sent out. In this press

  advisory, we demanded that the Town share its draft remedial proposal, make its investigation

  and planning documents available to the public, hold a public hearing and a public comment

  period, and provide meaningful language access services. Though the Town ultimately set up a

  working group that included members of community organizations, I and MRNY continued to

  struggle to get information about cleanup efforts directly from the Town.



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                 30.    By early January 2015, having not even begun work on cleaning up

  Roberto Clemente Park, the Town finally announced that it had finalized a cleanup plan, about a

  year after closing the Park. On January 6, 2015, a Newsday article came out about Suffolk

  County investigating potential groundwater contamination from the hazardous dumping. A true

  and accurate copy of this article is attached as Exhibit Y. Though the Department of

  Environmental Control ultimately concluded that there was no risk to Park users or people living

  close to the Park, the Town's failure to inform Brentwood residents that their drinking water

  potentially contained chemical waste was emblematic of the Town's lack of accountability to the

  Latino community.

                 31.    During the first several months after the dumping scandal became public,

  the Town occasionally would make attempts to communicate with community members about

  the efforts to clean up Roberto Clemente Park, but the attempts at communication were woefully

  insufficient. Mail and other communications coming from the Town often failed to reach

  MRNY members, and even when the Town did successfully reach to our members, the

  communications were often in English and failed to include Spanish translations. In addition, I

  recall numerous meetings over that period, including Town Board meetings, during which our

  members requested interpretation services but were told that the Town was not required to

  provide an interpreter because interpretation was not requested in advance. As a result of the

  Town's unwillingness to effectively communicate with the Latino community, MRNY

  employees and volunteers took it upon ourselves to go door-to-door and conduct phone banks in

  order to learn how people in the community were being directly affected by the Park dumping.

                 32.    Initially, when the toxic dumping first became public in May 2014, the

  Town announced that it would raise up to $6 million for the cleanup of the Park and that it would



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  take about four months to remove the polluted dumping. In June 2014, the Town said that it

  would rebuild the fields and repair and upgrade the pool in Roberto Clemente Park. When the

  Park finally reopened in mid-2017, all that the Town had accomplished was to remove the

  contaminated material from the dumping. The Town did not visibly upgrade the Park. Before

  the dumping, the Town had made plans to update the Park; all they ended up doing was fixing a

  mistake that never should have happened. Throughout the process, the Town demonstrated total

  disregard and disrespect towards the Latino community through its poor communication,

  repeated delays, and failure to commit sufficient financial resources towards the project.

                 33.     In addition to the dumping incident at Roberto Clemente Park, the Town

  has failed to provide its Latino community with a number of other basic services. The roads in

  the predominantly Latino communities in Islip are not maintained as well as the roads in the

  predominantly white communities in Islip. On my daily commute to the MRNY office in

  Brentwood, I would drive through Brentwood on Fulton Street from the Long Island Expressway

  towards Suffolk Avenue. Fulton Street and the area between Suffolk Avenue and the Southern

  State Highway were always riddled with potholes. In addition, in my role at MRNY, I routinely

  drove throughout Brentwood and Central Islip and the residential roads in these communities

  were also in a state of disrepair. Similarly, on days when there were snowstorms, snow clearing

  was not comprehensive. These conditions were always worse in the predominantly Latino

  neighborhoods than the wealthier and whiter areas of Islip. In particular, from time to time, I

  would drive through the roads close to the Town Hall in Islip and the southern parts of Bay

  Shore, which are predominantly white communities in the Town of Islip and have always been

  well maintained.




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                  34.    The street lighting in Brentwood is inadequate. When LICET and MRNY

   volunteers have gone door-to-door, many have complained that they felt unsafe after sunset

   because the streets are so dark. They also complained that due to the poor lighting, they would

   trip and fall because the streets were unevenly paved. I have personally observed that the street

   lighting in predominantly white communities in Islip is significantly better.

                  35.    MRNY members report that the Town selectively enforces housing codes

   and specifically targets the Latino community with housing code enforcement actions. MRNY

   members report repeated, oftentimes harassing, visits from Town officials. In December 2014,

   the Town passed amendments to the Town Code that criminalized the existence of peeling paint,

   clogged gutters, and the presence of cockroaches and mice. Violations of these rules could

   subject homeowners to fines of up to $5,000 and incarceration for up to one year. Further, the

   amendments contained provisions that were often vague and excessively discretionary and

   lacked any due process requirements such as standards of proof or an opportunity to defend

   against and appeal the Town's determinations. The amendments also exempted recordkeeping

   from disclosure under FOIL. MRNY members raised serious concerns about these amendments.

   In large part due to these amendments to the Town Code and the harm they would inflict upon

   our members, on April 20,2015, MRNY applied for a grant to advocate against these

   amendments, among other projects. I had an opportunity to review the grant proposal before it

   was sent. A true and accurate copy of the grant proposal is attached as Exhibit Z.

                  36.    When I started at MRNY in 2011,1 became aware of lawsuits that had

   been brought against George Talley, the Brentwood School Board President, and other school

   officials for racist comments and race-based employment discrimination. Partially because of

  these allegations, I helped organize a candidate forum for candidates for the Brentwood School



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   Board on May 9,2012. A true and accurate copy of the email I sent on May 7,2012 to

   Brentwood residents inviting them to attend the forum is attached as Exhibit AA. The email

   states that the forum is in part being held because the Brentwood School Board has been

   repeatedly accused of racial discrimination.

                  37,    I have personally observed racial appeals made by members of the Islip

   Town Board and other elected officials in Suffolk County. On January 19, 2018, Islip

   Councilwoman Trish Bergin Weichbrodt posted on Facebook: "I'm looking at warm getaways

   for kids February break. I'm wondering about El Salvador, Haiti, or Somalia

   #recommendations?" I viewed this offensive post on Facebook. A true and accurate copy of this

   post is attached as Exhibit BB. Councilwoman Bergin Weichbrodt posted this statement on

   Facebook shortly after President Trump derided protections for people from "shithole" countries

   such as El Salvador, Haiti, and African nations. I interpreted this Facebook post as an example

   of clear "dog-whistle" racism because it denigrated the country of origin of many members of

   the community. Members of Islip's Latino community expressed how horrified they were and

   how openly disrespectful it was to people of color.

                  I declare under penalty of perjury that the foregoing is true and correct.




   Executed at: Brooklyn, New York


   February 28,2019                                                 DANIEL ALTSCHULER




                                                   17
